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UNITED STATES DISTRICT COURT FILED
EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
AUG 23 2007

NO. S. : OF Cr VY - fF C DENNIS P. IAVARONE, CLERK

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UNITED STATES OF AMERICA )
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)
vs. } INDICTMENT
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DAVID MICHAEL KEENE

The grand jury charges that:

On or about April 7, 2006, in the Eastern District of North
Carolina, the defendant, DAVID MICHAEL KEENE, an inmate in the
Federal Correctional Institution, Butner, North Carlina, possessed
a prohibited object, to wit, approximately 1.4 grams of marijuana,
a Schedule I controlled substance, in violation of Title 18, United

States Code, Section 1791 (a) (2).

GEORGE E.B. HOLDING
United States Attorney

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ONNE V. WATFORD-MCKINNEY
Sistant United States Attorney
Criminal Division

 

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